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                        UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



  United States of America           )           CASE NO. 1:06CR594
                                     )
            Plaintiff                )           Judge David D. Dowd, Jr.
                                     )
            - vs -                   )
                                     )           O R D E R
  Ivan Lewis                         )
                                     )
            Defendant                )



      A violation Report was filed in this case on December 6, 2010,

  and the Court referred this matter to Magistrate Judge Nancy

  Vecchiarelli to conduct revocation proceedings and to file a

  Report and Recommendation. The defendant Ivan Lewis, counsel for

  the defendant, Mr. Dennis Terez and counsel for the Government

  Mr. Daniel Riedl appeared before this Court on June 7, 2011.

      The Court finds the defendant in violation of his terms and

  conditions of supervised release for illegal use of drugs as

  stated in the violation report.

      IT IS ORDERED that the defendant is sentenced to a period of

  12 months and one day, with credit for time already served in

  custody since February 11, 2011.             The Court recommends to the

  Bureau of Prisons that the defendant be committed at the Federal

  Medical Center Lexington in Lexington, Kentucky.

      IT IS FURTHER ORDERED that upon release from confinement the

  period of supervised release will terminate.



  June 8, 2011                             s/David D. Dowd, Jr.
     Date                                  David D. Dowd, Jr.
                                           U.S. District Judge
